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Exhibit E
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PAGES: 1-97
EXHIBITS: 1-1
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:13-cv-13086-GAO

SIMEON NILES,
Plaintiff,

TOWN OF WAKEFIELD, STEVEN
SCORY, in his individual
capacity, KENNETH SILVA, in
his individual capacity,

JOHN WHALEY, in his individual
capacity and SCOTT REBOULET,
in his individual capacity,

Defendants.

Job No. CS1953180

DEPOSITION OF SIMEON NILES, a witness
called on behalf of the Defendants, pursuant to
the applicable provisions of the Massachusetts
Rules of Civil Procedure, before Margaret G.
Oliver, a Professional Shorthand Reporter and
Notary Public in and for the Commonwealth of
Massachusetts, at the offices of Louison,
Costello, Condon & Pfaff, LLP, 101 Summer Street,
Boston, Massachusetts, on Monday, November 10,
2014, commencing at 10:38 a.m.

Veritext Corporate Services

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pe wy

Page 90 |
1 Having taken a brief break, we are going 1 Q. Okay. Mr. Niles, you said that you went
2 to. suspend the deposition of Mr. Niles at this 2 ‘to see a chiropractor. Who was that?
3 time pending some additional production of 3 A. That was the chiropractor from
4 documents from plaintiff's counsel. 4 Wakefield. 1 can't remember exactly his name.
5 Q. Is there anything else you want to add? 5 But J just think he should be notified in my
6 Or not just add, but are there any answers that 6 minutes.
7 - you put to my questions that you, on reflection, 7 Q. And how many times did you see the --
8 want to amend or change? § A. Probably almost two weeks daily.
9 A. I would like to amend. 9 Q. And what time frame was this?
10 Q. Allright. What question -- what 10 A. Less than 14 days after the episode.
fl specific area would you like to amend? 1M Q. And so you saw him for about two weeks?
12 A. When I first met with Dr. Kidd. 12 A. About two or three weeks, in that area,
13 Q. Okay. 13. yes.
14 A. I think you asked me a question of what 14 Q. And as you sit here today, you can't
1S happened. 15 recall his name?
16 Q. Okay. 16 A. I can't remember exactly, but you have
17 A. And I think the only -- the reason that 17 the information.
18 | went to meet with Dr. Kidd I was asked to wait 18 Q. Okay. And you've used the term "post
19 14 days or so and I attend -- Dr. Kidd obviously 19 traumatic stress." Has any doctor told you that
20 examined me. And he recommended me immediately to) 20 —_—-yyou're suffering from post traumatic stress?
21 go to see a chiropractor. And I -- that was 21 A. Yes, because I have never been on
22 extremely important. That was the first doctor 22 _ sleeping pills in all my life.
23 ‘that I saw, the chiropractor. And then from the 23 Q. And which doctor told you this?
24 chiropractor, then I saw all other doctors. 24 A. All the doctors I have met, even
Page 91 Page 93
I Q. Okay. 1 Dr. Kidd, psychologist, psychiatrist, all of them
2 A. Because at that time, I was in severe 2 came up with that notion,
3 pain. And I cannot leave that out. I will speak 3 Q. Okay. And who is prescribing you
4 up if I were leaving here without the chiropractor | 4 sleeping pills?
5 _ being add or any of the doctors such as a 5 A. My primary care doctors, as well as the
6 — neurologist that I have met. 6 psychologist and psychiatrist recommend the
7 And this was a long and a difficult 7 sleeping pills.
8 struggle for almost two and one half years of 8 Q. But who is the one who's actually
9 constant annoyance, night sweats and post 9 prescribing them?
10 ‘traumatic stress. It is not easy. 1 have never 10 A. Dr. Kidd prescribes.
11 been apprehended in my whole life. AndItake {11 Q. And what kind of -- what's the
12 this extremely -- and I'm not taking it lightly. 12. medication?
13 I could have died that same day with 13 A. Tamparizain. | think you have that
14 four policemen with four guns almost half the size| 14. information. I can't remember it now.
15 of this table, and recommended that I should lie 15 Q. But it's a -- it's a prescription, not
16 on the floor, step on my lower back. AndI just | 16 — over the counter?
i7 want to summarize that. And it bothering me up ta 17 A. No.
18 this day. 18 Q. It's a prescription?
19 Q. Okay. 19 A, It is a prescription.
20 A. Inever was on sleeping pills. [am on 20 Q. Okay.
21 sleeping pills now. So I have to take it very 21 A. Thirty of them is $400. Frightfully
22 seriously. At that point in time, I was 67 years 22 expensive. Because I'm having anxiety,
23 old, and I could have a very massive heart attack | 23 irritability, cannot sleep. I never can get eight
and was seriously disrespected. 24 hours of sleep, enough. So 1 want you to

24 (Pages 90 - 93)

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. . I ERRATA SHEET
l understand it affected me terribly. VERITEXT CORPORATE SERVICES
2 800-567-8658
2 Ok
Q. ay. ASSIGNMENT NO. CS1953580
1 ‘ : 3 CASE NAME: Niles, Simeon v. Town Of Wakefield
3 A. I've never been affected in my life of DATE OF DEPOSITION: 11102014
4 such nonsense 4 WITNESS' NAME: Simeon Niles
. 5
5 Q. And have you -- prior to coming here 9 MORAINES CHANGE REASON
6 today, last evening did you take the sleeping ; — : ‘
7 pills? 5 — ;
8 A. Yes. ; _ : ;
9 Q. Do you take them every night? i } i
10 f !
10 A. Every night. I try not to have every at } f
. . . . Hf f f
i] night, but some nights is worse than other nights. | f f !
2 f /
H2 Q. Okay. _ f :
wf j
13 MR, LOUISON: Thank you. ~y f ;
tq A i f
14 MR. LEV: Do you want to suspend -- — ; f
[5 MR. LOUISON: Yeah. And now we're going 's — ‘ ;
16 — to suspend the deposition of Mr. Niles. 6 __t f
7 (Whereupon the deposition suspended at Ft !
18 12:01 p.m.) 1k — i
19 ps fe fc nmenamese
20
20 n Simeon Niles
71 SUBSCRIBED AND SWORN TO
22 BEFORE ME THIS DAY
22 OF . 2014.
23
23 oe i
24 NOTARY PUBLIC
24 25 MY COMMISSION EXPIRES _
Page 95 Page 97
I CERTIFICATE | Veritext Legal Solutions
2 COMMONWEALTH OF MASSACHUSETTS 290 W. Mt. Pleasant Ave. - Suite 3200
3 MIDDLESEX, SS. 2 Livingston, New Jersey 07639
4 Tol? Free: 800-227-8440 Fax: 973-629-1287
5 i, Margaret G. Oliver, Notary Public in 3
and for the Commonweaith of Massachusetts, do 4
6 hereby certify that SIMEON NILES, the witness ; » 2014
whose deposition is hereinbefore set forth, was 6 To: Dimitry Lev, Esq.

7 duly sworn by me and that such deposition is a
true record of the testimony given by the witness.
8 I further certify that I am neither
related to or employed by any of the parties
9 hereto or counse) to this action, nor am [
financially interested in the outcome of this
10 action.
In witness whereof, I have hereunio set my
HW hand and seai this 21st day of November 2014.

Margaret G. Oliver
14 Notary Public
My commission expires: May 18, 2018

THE FOREGOING CERTIFICATION OF THIS TRANSCRIPT
1?) DOES NOT APPLY TO ANY REPRODUCTION OF THE SAME BY
ANY MEANS UNLESS UNDER THE DIRECT CONTROL AND/OR
18 DIRECTION OF THE CERTIFYING REPORTER.

Case Name: Niles, Simeon v. Town Of Wakefield
Veritext Reference Number: 1953180
Witness: Simeon Niles Deposition Date: 11/L0/2014

we

10 Dear Sir/Madam:

Ll The deposition transcript taken in the above-referenced
matter, with the reading and signing having not been

12 expressly waived, has been completed and is avaiiable
for review and signature. Please call our office to

13. make arrangements for a convenient Location to
accomplish this or if you prefer a certified transcript

14 can be purchased, which can be sent to you or the
deponent directly.

Hf the jurat is not returned within thirty days of your
17 receipt of this letter, the reading and signing will be
deemed waived.

Sincerely,
20
2] Production Department
22
23 Cc: Douglas L Louison, Esq.
24 Chantelle M. D'Angelo, Esq.

25 (Pages 94 - 97)

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